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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                        Case No. 1:05-CR-160
v.
                                                        HON. ROBERT HOLMES BELL
CAROLYN ROSS,

              Defendant.
                                    /

           ORDER APPROVING REPORT AND RECOMMENDATION

       On April 6, 2007, Magistrate Judge Hugh W. Brenneman, Jr., filed a Report and

Recommendation recommending that Defendant Carolyn Ross be detained pending trial.

(Docket # 228). The Report and Recommendation was duly served on the parties. No

objections, as permitted by 28 U.S.C. § 636(b)(1), and W.D. Mich. LCivR 72.3(b), have been

filed. The Court agrees with the Magistrate Judge's recommendation. Accordingly,

       IT IS HEREBY ORDERED that the April 6, 2007, Report and Recommendation is

ADOPTED as the opinion of the Court.

       IT IS FURTHER ORDERED that the order of release entered January 31, 2007,

in the Southern District of Ohio is REVOKED.

       IT IS FURTHER ORDERED that Defendant Carolyn Ross shall be DETAINED

pending trial. The defendant is committed to the custody of the Attorney General or his

designated representative for confinement in a corrections facility separate, to the extent
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practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The Defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an attorney

for the Government, the person in charge of the corrections facility shall deliver the

Defendant to the United States Marshal for the purpose of an appearance in connection with

a court proceeding.




Date:      May 1, 2007                    /s/ Robert Holmes Bell
                                          ROBERT HOLMES BELL
                                          CHIEF UNITED STATES DISTRICT JUDGE




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